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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                     Chapter 11
    In re
                                                                     Case No. 20-11218
    The Hertz Corporation, et al.,1
                                                                     (Jointly Administered)

                                            Debtors.
                                                                     Re: Docket No. 389


             ORDER GRANTING MOTION TO SHORTEN NOTICE AND
       OBJECTION PERIODS AND SETTING PROCEDURES WITH RESPECT TO
     DEBTORS’ EMERGENCY MOTION FOR AUTHORITY TO ENTER INTO A SALE
               AGREEMENT WITH JEFFERIES LLC AND TO SELL
           SHARES OF COMMON STOCK OF DEBTOR HERTZ GLOBAL
          HOLDINGS, INC. THROUGH AT-THE-MARKET TRANSACTIONS

             Upon consideration of the motion (the “Motion”)2 of the Debtors for entry of an order (this

“Order”) pursuant to Bankruptcy Rule 9006(c)(1) and Local Rules 9006-1(c) and 9006-1(e)

(a) shortening the notice period with respect to the Sale Agreement Motion, (b) scheduling the

Sale Agreement Hearing, (c) setting forth the notice procedures for the Sale Agreement Motion,

and (d) setting a deadline for responses and objections to the Sale Agreement Motion; and the

Court having found that it has jurisdiction to consider the Motion and the relief requested therein

in accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

from the United States District Court for the District of Delaware, dated February 29, 2012 (Sleet,

C.J.); and consideration of the Motion and the relief requested therein being a core proceeding


1
          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter
11 cases, for which joint administration for procedural purposes has been requested, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
2
             Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.

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    AMERICAS 102564697

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pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and due, sufficient, and proper notice of the Motion having been provided under

the circumstances and in accordance with the Bankruptcy Rules and the Local Rules, and it

appearing that no other or further notice need be provided; and the Court having found cause for

the relief requested in the Motion pursuant to Local Rule 9006-1(e); and the Court having found

and determined that the relief sought in the Motion is in the best interests of the Debtors, their

estates, their creditors, their stakeholders, and all other parties-in-interest, and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED THAT:

          1.          The Motion is GRANTED as set forth herein.

                      1.     The Sale Agreement Hearing to consider the Sale Agreement Motion shall

be held before the Court, on June 12, 2020 at 3:00 p.m. (prevailing Eastern Time) (the “Sale

Agreement Hearing”).

                      2.     Responses and objections, if any, to the Sale Agreement Motion shall be

presented at or filed prior to the Sale Agreement Hearing.

          3.          The Debtors shall provide notice of (i) the Sale Agreement Motion, (ii) the

proposed order approving the Sale Agreement Motion, and (iii) a copy of the signed order granting

the relief requested herein on the Notice Parties by email or by overnight mail pursuant to Local

Rule 9036-1.

          4.          Service as set forth above shall constitute good and sufficient service and adequate

notice of the Sale Agreement Motion and the Sale Agreement Hearing under the circumstances.

          5.          Pursuant to Local Rule 9006-1(e), no hearing on the Motion is required.


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          6.          This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, or enforcement of this Order.




Dated: June 11th, 2020
Wilmington, Delaware                                    3 MARY F. WALRATH
                                                          UNITED STATES BANKRUPTCY JUDGE
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